     Case 1:18-cv-00719-CCR              Document 202-1        Filed 05/29/24      Page 1 of 4




 UNITED STATES DISTRICT COURT
 FOR THE WESTERN DISTRICT OF NEW YORK


  BLACK LOVE RESISTS IN THE RUST, et al.,
  individually and on behalf of a class of all others
  similarly situated,

                           Plaintiffs,
                                                               No. 1:18-cv-00719-CCR
            v.

  CITY OF BUFFALO, N.Y., et al.,

                           Defendants.


                              DECLARATION OF JOSEPH BONDS

       Joseph Bonds declares, under penalty of perjury and pursuant to 28 U.S.C. § 1746:

       1.        My name is Joseph Bonds. I am one of the Plaintiffs in this action.

       2.        I make this declaration in support of Plaintiffs’ Motion for Class Certification.

       3.        I am a sixty-eight-year-old Black resident of Buffalo and I have lived here my

entire adult life, except for the eight years when I served in the U.S. military from approximately

1981 to 1989.

       4.        I am a minister at the House of Prayer for All People in Buffalo, a security guard,

and a former construction worker. I currently reside in Western New York Veterans Association

housing on Adams Street. I used to reside in the BMHA Marine Drive Apartments in downtown

Buffalo.

       5.        In the fall of 2016, I received a ticket at a checkpoint operated by the Buffalo

Police Department on William Street and South Ogden Street on the east side of Buffalo.
      Case 1:18-cv-00719-CCR           Document 202-1         Filed 05/29/24      Page 2 of 4




        6.      During this incident, the officers brandished their flashlights into my vehicle and

asked me intrusive questions about where I was coming from and where I was going. The

officers also informed me that my insurance was expired.

        7.      I showed the officers the receipt of payment I had made to my insurance company

earlier that day, but they still issued me a ticket for expired insurance and told me to go to the

BTVA to resolve the issue.

        8.      The ticket for expired insurance was ultimately dismissed after I went to the

BTVA and presented proof of insurance.

        9.      In August of 2017, I was stopped at another checkpoint operated by the Buffalo

Police Department on Jefferson Avenue and Carlton Street on the east side of Buffalo, but that

time I did not receive a ticket.

        10.     I felt fear and anxiety when being subjected to these checkpoints because I had

my family with me, and I felt like we were being racially profiled and targeted for not being in

the “right” neighborhood. We had not done anything to warrant being subjected to a checkpoint

other than being on the east side of Buffalo. Police in Buffalo tend to be unpredictable based on

their mood, and I feared being taken out of the safety of my car. Being racially profiled by

Buffalo police has caused me to be hypervigilant in my driving routine.

        11.     I stopped driving at night to try to avoid having to go through checkpoints

because I found them to be impeding my daily life and violating my rights. I intentionally take a

safe route between home and work to avoid Buffalo police because they have followed me in the

past for no reason.

        12.     I have had other negative experiences with BPD ticketing practices. In 2019, I

received so many tickets while my car was not in use and parked at my BMHA residence that I
     Case 1:18-cv-00719-CCR            Document 202-1         Filed 05/29/24      Page 3 of 4




eventually had to sell my car because I could not afford to pay for the tickets or to keep my car in

a private garage to avoid getting more tickets.

       13.     I have since obtained a new car. I drive in the City of Buffalo regularly and plan

to continue to do so.

       14.     I understand that this case is a proposed class action.

       15.     I am willing to serve as a representative for the Checkpoint and Traffic

Enforcement Classes on behalf of myself and other people whose facts and circumstances are

similar to mine. I understand that the Checkpoint Class is seeking monetary damages and the

Traffic Enforcement Class is seeking a court order declaring the City of Buffalo’s traffic

enforcement practices unlawful and ordering the City to change its practices.

       16.     I understand that as a class representative, I have a responsibility to participate

actively in the litigation. I am represented in this lawsuit by lawyers from the National Center for

Law and Economic Justice, the Center for Constitutional Rights, the Western New York Law

Center, and Covington & Burling LLP. Since joining this lawsuit, I have communicated

regularly with my counsel, kept informed of the progress of the case, reviewed and approved the

Amended Complaint (primarily the paragraphs that describe my experiences), participated in

written discovery, sat for a deposition and talked with my counsel about what I think a fair

resolution of this case would be.

       17.     I understand that as a class representative I have a responsibility to protect the

interests of the entire class, not just my own interests, and to ensure that my counsel prosecutes

the case vigorously and in the interest of all class members. I agree to fulfill my responsibilities

as a class representative.
     Case 1:18-cv-00719-CCR   Document 202-1   Filed 05/29/24   Page 4 of 4




Dated: May 13, 2024



                                           _________________________________
                                                    Joseph Bonds
